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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                    8:05CR94
       vs.                                     )
                                               )                   ORDER
JUAN GARCIA,                                   )               CONTINUING TRIAL
JOSE ELIAS GARCIA, and                         )
LEONARDO VARGAS-GONZALEZ,                      )
                                               )
                     Defendants.               )


        This matter is before the court on the MOTION TO CONTINUE TRIAL filed by Juan Garcia
[240]. The case was previously continued from June 27, 2006 to July 11, 2006 due to defense
counsel's scheduling conflicts. The court is advised that defense counsel also has a
scheduling conflict for the July 11, 2006 date. For good cause shown, trial will be continued
to the next available trial setting with which defense counsel has no known scheduling conflict,
i.e., September 19, 2006.

       IT IS ORDERED that the motion to continue trial [237] is granted, as follows:

      1. Trial of this matter is continued from July 11, 2006 to September 19, 2006 before
Judge Laurie Smith Camp and a jury.

        2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as a
result of the granting of this motion, that is, the time between July 11, 2006 and September
19, 2006, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act due to defense counsel's scheduling conflicts, and considering the
diligence of counsel. Failure to grant a continuance would unreasonably deny the defendant
continuity of counsel, be likely to make a continuation of such proceeding impossible, and/or
result in a miscarriage of justice . 18 U.S.C. § 3161(h)(8)(A) & (B).

     3. Counsel for the United States shall confer with defense counsel and, no later than
September 12, 2006, advise the court of the anticipated length of trial.

      4. This order applies to defendants Juan Garcia, Jose Elias Garcia, and Leonardo
Vargas-Gonzalez.

       DATED June 14, 2006.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
